

Matter of Paul v City of New York (2023 NY Slip Op 04935)





Matter of Paul v City of New York


2023 NY Slip Op 04935


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Index No. 154728/22 Appeal No. 688 Case No. 2023-00290 

[*1]In the Matter of Boswell Paul, Petitioner,
vThe City of New York et al., Respondents.


Levine &amp; Gilbert, New York (Harvey A. Levine of counsel), for petitioner.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Josh Liebman of counsel), for respondents.



Determination of respondent Corrections Department of the City of New York, dated April 20, 2022, which terminated petitioner's employment based on the report and recommendation of an Administrative Law Judge, unanimously confirmed, the petition denied, and the proceeding brought pursuant to CPLR article 78 (transferred to this Court by order of Supreme Court, New York County [Arlene P. Bluth, J.], entered on or about September 28, 2022), dismissed, without costs.
Substantial evidence supports respondent Correction Department's determination that petitioner violated Department directives and procedures concerning the retrieval of inmate property, engaged in undue familiarity with an inmate, failed to submit a required unusual incident report, used excessive force against an inmate, and made false and misleading statements (see CPLR 7803[4]; Matter of Berenhaus v Ward, 70 NY2d 436, 443-444 [1987]; 300 Gramatan Ave. Assoc. v State Div. of Human Rights, 45 NY2d 176, 180 [1978]).
The penalty of termination of petitioner's employment does not shock one's sense of fairness (see Matter of Kelly v Safir, 96 NY2d 32, 38 [2001]; Matter of Pell v Board of Educ. of Union Free School Dist. No. 1 of Towns of Scarsdale &amp; Mamaroneck, Westchester County, 34 NY2d 222, 233 [1974]; see also Matter of Smith v Kelly, 117 AD3d 564, 565 [1st Dept 2014]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








